           Case 18-10264-amc           Doc 82 Filed 12/15/21 Entered 12/15/21 10:32:07                    Desc
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                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 13


Sharon Elizabeth Massadin                                        : Case No. 18−10264−amc
               Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , December 15,2021 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                 By The Court

                                                                 Ashely M. Chan
                                                                 Judge , United States Bankruptcy Court




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                                                                                                                 Form 195
